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                  EXHIBIT 4B
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                                                  U.S. Department of Justice




                                                  United States Attorney
                                                  District of Arizona
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                                                Phoenix, AZ 85004-4408

                                                March 7, 2019



Via E-Mail
Whitney Z. Bernstein
Bienart, Miller & Katzman PLC
EMail:wbernstein@bmkattorneys.com
(attorney for Defendant James Larkin)




  Re:     Your letter of February 26, 2019

  Dear Ms. Bernstein:

         We write in response to your February 26, 2019 letter summarizing our February
  20, 2019 phone call regarding Backpage server data. Your letter contains a number of
  inaccuracies. However, instead of addressing each inaccuracy contained within the letter,
  we believe it would be most fruitful to provide you with the below written summary of the
  government’s handling of the Backpage server data to date.

          Total Servers

         The government has 46 Backpage servers in its possession obtained from
  Amsterdam, Netherlands (“Amsterdam”), Tucson, Arizona (“Tucson”), and Dallas, Texas
  (“Dallas”). We are currently awaiting receipt of approximately 60 additional servers from
  Amsterdam through the Mutual Legal Assistance Treaty (“MLAT”) process.

          Amsterdam Servers

         We currently have in our possession nine servers obtained from Amsterdam through
  the MLAT process. Of these nine servers, three are slave database servers, three are image
  servers, two are master database servers, and one is a backup server. Backpage operated
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as a classified advertising website for approximately 14 years so we’re certain you are
aware of the content hosted on the site. However, we extracted all of the Backpage
marketplace database files (i.e. all of the ads that were on Backpage.com) from these
servers and have imaged the server containing all of the Backpage images in order to help
facilitate any review you would like to conduct of this data. As I indicated in my March 4,
2019 email to you, the hard drives containing this data are available for pick-up at an FBI
facility in Phoenix. Additionally, in accordance with Federal Rule of Criminal Procedure
16(a)(1)(E), these nine servers are available for your inspection at an FBI data center
facility in Pocatello, Idaho. Our forensic examiners located at this facility are available to
facilitate your review of these servers and answer any technical questions you may have
regarding this particular data.

      In addition to the aforementioned nine servers currently in the government’s
possession, we are awaiting receipt of approximately 60 servers from Dutch officials
through the MLAT process. We have been advised by a former Backpage employee who
managed these servers that these 60 servers contain payment processing data and data
redundancy from the nine Amsterdam servers currently in the government’s possession.
These servers will also be available for your inspection at an FBI data center facility in
Pocatello, Idaho when we receive them.

       Dallas Servers

        We currently have in our possession five Backpage servers seized from Dallas. Of
these five servers, we were advised by a former Backpage employee who managed these
servers that two of these servers contain Backpage-related email data. These two servers
have been imaged and the hard drives containing this data are available for pick-up at an
FBI facility in Phoenix. The former Backpage employee who managed these servers also
advised us that the remaining three Dallas servers in our possession contain antivirus
servers, asset tracking/inventory software, a backup server, web user interface, virtual
private network for end point, VM servers, and WSUS. In accordance with Federal Rule
of Criminal Procedure 16(a)(1)(E), these three servers are available for your inspection at
an FBI data center facility in Pocatello, Idaho. Our forensic examiners located at this
facility are available to facilitate your review of these servers and answer any technical
questions you may have regarding this particular data.

       Tucson Servers

       We currently have in our possession 32 servers and three hard drives seized from
Tucson. We were advised by a former Backpage employee who managed these servers
that they contain data redundancy of the marketplace database files and images from the
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Amsterdam servers. We have imaged the master marketplace database and image servers.
The hard drives containing this data are available for pick-up at an FBI facility in Phoenix.
In accordance with Federal Rule of Criminal Procedure 16(a)(1)(E), these 32 servers are
available for your inspection at an FBI data center facility in Pocatello, Idaho. Our forensic
examiners located at this facility are available to facilitate your review of these servers and
answer any technical questions you may have regarding this particular data.

       Sampling of Ad data and Ad data the Government Might Utilize at Trial

        During our February 20, 2019 phone conversation (and again in your February 26,
2019 letter), you requested samples of “[Backpage] advertisements as such ads now appear
in the data the government has imaged.” You also requested “discrete parts of all
advertisements that are the subject of counts in the Superseding Indictment.” To be clear,
the government has previously produced to you in discovery ads that are referenced in
counts in the Superseding Indictment. However, we are willing to produce samples of
Backpage ads as the ads appear in the server data the government has imaged, to include
ads referenced in counts in the Superseding Indictment. Although we had hoped to have
this sampling to you this week, our forensic examiner culling this data was unexpectedly
away from the office for a number of days, so we will need additional time to compile the
requested sampling. We will send this sampling to you as soon as possible. Also, as
previously noted, the entire marketplace of Backpage ads have been extracted for you and
is available for pick-up at your convenience.

       Additionally, given the voluminous amount of server data, the government agrees
to provide to you with exhibits of any server data that we might utilize at trial. This should
greatly assist you in focusing your efforts and attention on server data relevant to the case.

       Please reach out to me with additional questions. We will continue to work
diligently to answer them and facilitate your review of materials in this case.




                                                         BRIAN BENCZKOWSKI
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                                                         U.S. Department of Justice
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